Case: 3:18-cr-00152-jdp Document #: 218-1 Filed: 03/19/20 Page 1of1

8:09 © Fail
€ QQ Search
Jeremy J Ryan vee
ew Mar 17 at 12:25 PM @

The tension is palpable... You can feel it in the air...
This place is this close to snapping and collapsing in
onitself... Some restrictions aren't really too bad...
But the absurdity of saying that someone who has a
job can go work in a 300 person factory but someone
who doesnt cant go to a one on one interview... And
no one can see a doctor unless its emergency
medical... And the Bureau of Prisons openly admitted
that these restrictions were not because they were
necessary (obviously because logically it makes no
sense) but because they don't have a plan in place...
So due to their incompetence people are getting
screwed... You can't get on your feet if you cant get a
job or see a doctor... It's too early to issue such harsh
restrictions... They may not even allow you to see a
psychiatrist... They dont know yet... People
understand some restrictions are necessary, but to go
this far is absolutely outrageous... And then to do it in
such an inconsistent manner... People with jobs know
that eventually that may have to end... But it will end
for large segments of the population at that time... To
be restricting people from obtaining employment and
medical while people who have jobs can go surround
themselves with hundreds of people is creating too
much tension in this facility... | don't know what's
going to happen... It won't be violent | know that... But
some sort of uprising is coming if they don't get their
shit together...

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Jeremy J Ryan eee
aces Yesterday at 8:24 PM: @

And so it begins... One person in the facility had a
fever and bad cough... He was removed and tested for
Coronavirus... Everyone in his room and the adjoining
room are quarantined to their room except for 10
minutes once every 2 hours for a cigarette break... |
am not in his room or the adjoining room... They said
they should know within 48 hours... So basically the
whole facility could have it by now... Everyone is just
waiting to hear back...

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Jeremy J Ryan es
Nas Mar 17 at 6:04 PM -@

| remember 9/11... | remember how we as a nation
came together... | remember when the fringes
launched xenophobic attacks the masses stood
together and said that's not right... And the President,
no matter how flawed, did as well... | remember
people helping people... Everyone seemed to be more
in tune to their communities... And people for a brief
moment seemed together... If we can stick together
now like we did back then we will be ok... It may not
be easy but we will make it through... And perhaps
learn a valuable lesson on how we can make it through
anything...

@©O Sarah Yanske and 9 others 3 Shares

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